    Case 2:14-cr-00470-DN Document 288 Filed 09/01/20 PageID.3782 Page 1 of 1




                               IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH


    UNITED STATES OF AMERICA,                         ORDER TAKING UNDER
                                                      ADVISEMENT MOTION FOR
                              Plaintiff,              ORDER TO SHOW CAUSE,
                                                      AND
    v.                                                SETTING BRIEFING SCHEDULING
                                                      AND EVIDENTIARY HEARING ON
    PHILLIP KAY LYMAN,                                MOTION FOR ORDER TO SHOW
                                                      CAUSE
                              Defendant.
                                                      Case No. 2:14-cr-00470-DN-1

                                                      District Judge David Nuffer



           Based on the government’s Motion for Order to Show Cause (“Motion”), 1 and good

cause appearing,

           IT IS HEREBY ORDERED that the government’s Motion 2 is taken under advisement.

Defendant’s response to the government’s Motion must be filed by no later than Friday

September 11, 2020. The government may file a reply by no later than Wednesday September

16, 2020. An evidentiary hearing is set on the government’s Motion for Friday September 18,

2020, at 1:30 PM. The evidentiary hearing will be held via Zoom. Instructions for attending the

evidentiary hearing will be emailed to the parties.

           Signed September 1, 2020.

                                              BY THE COURT


                                              ________________________________________
                                              David Nuffer
                                              United States District Judge

1
    Docket no. 287, filed Aug. 25, 2020.
2
    Id.
